(Official Form 1) (12/03)
FORM B1                               United States Bankruptcy Court
                                                 Eastern District of Michigan
                                                                                                                                               Voluntary Petition
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Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
 Hernandez, Oscar


All Other Names used by the Debtor in the last 6 years                                         All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):                                                    (include married, maiden, and trade names):




Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.                         Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No.
(if more than one, state all):                                                                 (if more than one, state all):
                      xxx-xx-5667
Street Address of Debtor (No. & Street, City, State & Zip Code):                               Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  417 East Washtenaw, #4
  Ypsilanti, MI 48197


County of Residence or of the                                                                  County of Residence or of the
Principal Place of Business:              Washtenaw                                            Principal Place of Business:
Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):




Location of Principal Assets of Business Debtor
(if different from street address above):


                                                  Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)
    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
    preceding the date of this petition or for a longer part of such 180 days than in any other District.
       There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                Type of Debtor (Check all boxes that apply)                                               Chapter or Section of Bankruptcy Code Under Which
       Individual(s)                         Railroad                                                               the Petition is Filed (Check one box)
       Corporation                           Stockbroker                                                Chapter 7                   Chapter 11          Chapter 13
       Partnership                           Commodity Broker                                           Chapter 9                   Chapter 12
       Other                                 Clearing Bank                                              Sec. 304 - Case ancillary to foreign proceeding
                   Nature of Debts (Check one box)                                                                          Filing Fee (Check one box)
       Consumer/Non-Business               Business                                                     Full Filing Fee attached
                                                                                                        Filing Fee to be paid in installments (Applicable to individuals only.)
         Chapter 11 Small Business (Check all boxes that apply)                                         Must attach signed application for the court's consideration
       Debtor is a small business as defined in 11 U.S.C. § 101                                         certifying that the debtor is unable to pay fee except in installments.
       Debtor is and elects to be considered a small business under                                     Rule 1006(b). See Official Form No. 3.
       11 U.S.C. § 1121(e) (Optional)
Statistical/Administrative Information (Estimates only)                                                                                        THIS SPACE IS FOR COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there
      will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors                      1-15          16-49       50-99   100-199          200-999    1000-over



Estimated Assets
     $0 to            $50,001 to   $100,001 to     $500,001 to       $1,000,001 to   $10,000,001 to        $50,000,001 to       More than
     $50,000          $100,000     $500,000        $1 million        $10 million     $50 million           $100 million         $100 million



Estimated Debts
     $0 to            $50,001 to   $100,001 to     $500,001 to       $1,000,001 to   $10,000,001 to        $50,000,001 to       More than
     $50,000          $100,000     $500,000        $1 million        $10 million     $50 million           $100 million         $100 million




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(Official Form 1) (12/03)
                                                                              Name of Debtor(s):                                    FORM B1, Page 2
Voluntary Petition
(This page must be completed and filed in every case)                           Hernandez, Oscar

                              Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
Location                                                                Case Number:                          Date Filed:
Where Filed: - None -
         Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                    Case Number:                          Date Filed:
- None -
District:                                                                     Relationship:                         Judge:


                                                                       Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                 Exhibit A
I declare under penalty of perjury that the information provided in this      (To be completed if debtor is required to file periodic reports (e.g., forms
petition is true and correct.                                                 10K and 10Q) with the Securities and Exchange Commission pursuant to
[If petitioner is an individual whose debts are primarily consumer debts      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is
and has chosen to file under chapter 7] I am aware that I may proceed         requesting relief under chapter 11)
under chapter 7, 11, 12, or 13 of title 11, United States Code, understand          Exhibit A is attached and made a part of this petition.
the relief available under each such chapter, and choose to proceed under
chapter 7.                                                                                                        Exhibit B
I request relief in accordance with the chapter of title 11, United States                      (To be completed if debtor is an individual
Code, specified in this petition.                                                               whose debts are primarily consumer debts)
                                                                              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                              that I have informed the petitioner that [he or she] may proceed under
 X       /s/ Oscar Hernandez
                                                                              chapter 7, 11, 12, or 13 of title 11, United States Code, and have
     Signature of Debtor Oscar Hernandez                                      explained the relief available under each such chapter.

 X                                                                             X    /s/ David I. Goldstein                    October 15, 2005
     Signature of Joint Debtor                                                     Signature of Attorney for Debtor(s)          Date
                                                                                    David I. Goldstein P14130
                                                                                                                Exhibit C
     Telephone Number (If not represented by attorney)                        Does the debtor own or have possession of any property that poses
         October 15, 2005                                                     a threat of imminent and identifiable harm to public health or
                                                                              safety?
     Date
                                                                                     Yes, and Exhibit C is attached and made a part of this petition.
                             Signature of Attorney                                   No
 X          /s/ David I. Goldstein
                                                                                               Signature of Non-Attorney Petition Preparer
     Signature of Attorney for Debtor(s)
                                                                              I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
      David I. Goldstein P14130                                               § 110, that I prepared this document for compensation, and that I have
     Printed Name of Attorney for Debtor(s)                                   provided the debtor with a copy of this document.
      David I. Goldstein  P14130
     Firm Name                                                                     Printed Name of Bankruptcy Petition Preparer
      2010 Hogback, Ste 2
      Ann Arbor, MI 48105
                                                                                   Social Security Number (Required by 11 U.S.C.§ 110(c).)
     Address
      (734) 971-0110 Fax: (734) 971-9759
     Telephone Number                                                              Address
      October 15, 2005
     Date                                                                          Names and Social Security numbers of all other individuals who
                                                                                   prepared or assisted in preparing this document:
               Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this
petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title 11,             If more than one person prepared this document, attach additional
United States Code, specified in this petition.                                    sheets conforming to the appropriate official form for each person.

 X                                                                             X
     Signature of Authorized Individual                                            Signature of Bankruptcy Petition Preparer


     Printed Name of Authorized Individual                                         Date

                                                                                   A bankruptcy petition preparer's failure to comply with the
     Title of Authorized Individual                                                provisions of title 11 and the Federal Rules of Bankruptcy
                                                                                   Procedure may result in fines or imprisonment or both. 11
                                                                                   U.S.C. § 110; 18 U.S.C. § 156.
     Date

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                                                                   United States Bankruptcy Court
                                                                            Eastern District of Michigan
  In re          Oscar Hernandez                                                                                      Case No.
                                                                                                            ,
                                                                                             Debtor
                                                                                                                      Chapter                      7




                                                                        SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets.
     Add the amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.


                                                                                                                   AMOUNTS SCHEDULED

        NAME OF SCHEDULE                                   ATTACHED NO. OF                       ASSETS                LIABILITIES                OTHER
                                                            (YES/NO) SHEETS

A - Real Property                                                  Yes                1                     0.00


B - Personal Property                                              Yes                3               10,825.00


C - Property Claimed as Exempt                                     Yes                1


D - Creditors Holding Secured                                      Yes                1                                               0.00
      Claims
E - Creditors Holding Unsecured                                    Yes                1                                               0.00
      Priority Claims
F - Creditors Holding Unsecured                                    Yes                3                                          20,777.83
      Nonpriority Claims
G - Executory Contracts and                                        Yes                1
      Unexpired Leases

H - Codebtors                                                      Yes                1


I - Current Income of Individual                                   Yes                1                                                                     598.08
      Debtor(s)
J - Current Expenditures of                                        Yes                1                                                                   1,700.00
      Individual Debtor(s)

   Total Number of Sheets of ALL Schedules                                            14


                                                                              Total Assets            10,825.00


                                                                                               Total Liabilities                 20,777.83




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 In re         Oscar Hernandez                                                                               Case No.
                                                                                                    ,
                                                                                      Debtor

                                                         SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired
Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. (See Schedule D.) If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.


                                                                                                    Husband, Current Market Value of
                                                                                                               Debtor's Interest in
               Description and Location of Property                         Nature of Debtor's       Wife,      Property, without            Amount of
                                                                            Interest in Property     Joint, or                              Secured Claim
                                                                                                   Community Deducting  any Secured
                                                                                                               Claim or Exemption


                     None




                                                                                                    Sub-Total >               0.00          (Total of this page)

                                                                                                         Total >              0.00
 0     continuation sheets attached to the Schedule of Real Property                                (Report also on Summary of Schedules)
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  In re          Oscar Hernandez                                                                                              Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

      If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

1.      Cash on hand                                          X

2.      Checking, savings or other financial                      On Deposit                                                             -                          350.00
        accounts, certificates of deposit, or                     Charter One,
        shares in banks, savings and loan,
        thrift, building and loan, and
        homestead associations, or credit
        unions, brokerage houses, or
        cooperatives.

3.      Security deposits with public                             Security Deposit on Apt. Lease                                         -                          475.00
        utilities, telephone companies,                           Lessee
        landlords, and others.

4.      Household goods and furnishings,                          Misc. Household Goods                                                  -                        5,500.00
        including audio, video, and                               In Debtor's Possession
        computer equipment.

5.      Books, pictures and other art                         X
        objects, antiques, stamp, coin,
        record, tape, compact disc, and
        other collections or collectibles.

6.      Wearing apparel.                                          Misc. Personal Effects                                                 -                        3,500.00
                                                                  In Debtor's Possession

7.      Furs and jewelry.                                     X

8.      Firearms and sports, photographic,                    X
        and other hobby equipment.

9.      Interests in insurance policies.                      X
        Name insurance company of each
        policy and itemize surrender or
        refund value of each.



                                                                                                                                         Sub-Total >            9,825.00
                                                                                                                             (Total of this page)

  2      continuation sheets attached to the Schedule of Personal Property
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  In re          Oscar Hernandez                                                                                              Case No.
                                                                                                                  ,
                                                                                                 Debtor

                                                            SCHEDULE B. PERSONAL PROPERTY
                                                                      (Continuation Sheet)
                                                              N                                                                      Husband,    Current Market Value of
                 Type of Property                             O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                              N                                                                       Joint, or   without Deducting any
                                                              E                                                                     Community Secured Claim or Exemption

10. Annuities. Itemize and name each                          X
    issuer.

11. Interests in IRA, ERISA, Keogh, or                        X
    other pension or profit sharing
    plans. Itemize.

12. Stock and interests in incorporated                       X
    and unincorporated businesses.
    Itemize.

13. Interests in partnerships or joint                        X
    ventures. Itemize.

14. Government and corporate bonds                            X
    and other negotiable and
    nonnegotiable instruments.

15. Accounts receivable.                                      X

16. Alimony, maintenance, support, and                        X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

17. Other liquidated debts owing debtor                       X
    including tax refunds. Give
    particulars.

18. Equitable or future interests, life                       X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule of Real Property.

19. Contingent and noncontingent                              X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                         Sub-Total >                0.00
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Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property
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 In re         Oscar Hernandez                                                                                    Case No.
                                                                                                      ,
                                                                                      Debtor

                                                   SCHEDULE B. PERSONAL PROPERTY
                                                             (Continuation Sheet)
                                                     N                                                                   Husband,    Current Market Value of
              Type of Property                       O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                     N                                                                    Joint, or   without Deducting any
                                                     E                                                                  Community Secured Claim or Exemption

20. Other contingent and unliquidated                X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

21. Patents, copyrights, and other                   X
    intellectual property. Give
    particulars.

22. Licenses, franchises, and other                  X
    general intangibles. Give
    particulars.

23. Automobiles, trucks, trailers, and                   1992 Toyota Tercell                                                  -                        1,000.00
    other vehicles and accessories.                      In Debtor's possession

24. Boats, motors, and accessories.                  X

25. Aircraft and accessories.                        X

26. Office equipment, furnishings, and               X
    supplies.

27. Machinery, fixtures, equipment, and              X
    supplies used in business.

28. Inventory.                                       X

29. Animals.                                         X

30. Crops - growing or harvested. Give               X
    particulars.

31. Farming equipment and                            X
    implements.

32. Farm supplies, chemicals, and feed.              X

33. Other personal property of any kind              X
    not already listed.




                                                                                                                             Sub-Total >             1,000.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >           10,825.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
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   In re          Oscar Hernandez                                                                                   Case No.
                                                                                                                ,
                                                                                                Debtor

                                                SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor elects the exemptions to which debtor is entitled under:
 [Check one box]
    11 U.S.C. §522(b)(1): Exemptions provided in 11 U.S.C. §522(d). Note: These exemptions are available only in certain states.
    11 U.S.C. §522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                             been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
                             period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest
                             is exempt from process under applicable nonbankruptcy law.

                                                                                        Specify Law Providing           Value of          Current Market Value of
                    Description of Property                                                Each Exemption               Claimed              Property Without
                                                                                                                       Exemption           Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
On Deposit                                        11 U.S.C. § 522(d)(5)                                                         350.00                   350.00
Charter One,

Security Deposits with Utilities, Landlords, and Others
Security Deposit on Apt. Lease                       11 U.S.C. § 522(d)(5)                                                      475.00                   475.00
Lessee

Household Goods and Furnishings
Misc. Household Goods                                                             11 U.S.C. § 522(d)(3)                        5,500.00                5,500.00
In Debtor's Possession

Wearing Apparel
Misc. Personal Effects                                                            11 U.S.C. § 522(d)(3)                        3,500.00                3,500.00
In Debtor's Possession

Automobiles, Trucks, Trailers, and Other Vehicles
1992 Toyota Tercell                                                               11 U.S.C. § 522(d)(2)                        1,000.00                1,000.00
In Debtor's possession




    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re          Oscar Hernandez                                                                                                 Case No.
                                                                                                                    ,
                                                                                                     Debtor

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property
 of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all
 secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community."
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME,                                   O                                                            O    N   I
                                                                D   H          DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
          AND MAILING ADDRESS                                   E                                                            T    I   P       WITHOUT          UNSECURED
           INCLUDING ZIP CODE,                                  B   W             NATURE OF LIEN, AND                        I    Q   U                        PORTION IF
                                                                T   J        DESCRIPTION AND MARKET VALUE                    N    U   T
                                                                                                                                             DEDUCTING
          AND ACCOUNT NUMBER                                    O                                                            G    I   E       VALUE OF            ANY
            (See instructions above.)
                                                                    C                 OF PROPERTY
                                                                R
                                                                                    SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
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Account No.                                                                                                                       E
                                                                                                                                  D




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
                                                                                                                          Subtotal
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_____ continuation sheets attached
                                                                                                                 (Total of this page)
                                                                                                                             Total                   0.00
                                                                                                   (Report on Summary of Schedules)
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 In re          Oscar Hernandez                                                                                Case No.
                                                                                                         ,
                                                                                       Debtor

                    SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
    unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
    including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
    debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
    and the creditor and may be provided if the debtor chooses to do so.

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
    on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or
    the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

        If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
    "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
    columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E
    in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

           Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

           Extensions of credit in an involuntary case
       Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

           Wages, salaries, and commissions
       Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
    independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, which ever occurred first, to the extent provided in 11 U.S.C. § 507 (a)(3), as amended by § 1401 of Pub L. 109-8.

           Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

           Certain farmers and fishermen
           Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

           Deposits by individuals
       Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(6).

           Alimony, Maintenance, or Support
           Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

           Taxes and Certain Other Debts Owed to Governmental Units
           Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C § 507(a)(8).

           Commitments to Maintain the Capital of an Insured Depository Institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507(a)(9).

    *Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
     adjustment.

                                                                        0       continuation sheets attached
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   In re          Oscar Hernandez                                                                                           Case No.
                                                                                                                        ,
                                                                                                      Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
 priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor
 has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
 Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity
 on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
 the marital community maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three
 columns.)
      Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
 the Summary of Schedules.
      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                           O                                                           O   N   I
                 AND MAILING ADDRESS                                           D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                          E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                   W
                 AND ACCOUNT NUMBER
                                                                               B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                       AMOUNT OF CLAIM
                                                                               T   J                                                       N   U   T
                                                                               O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                   R
                                                                                   C
                                                                                                                                           E   D   D
                                                                                                                                           N   A
Account No. 9837                                                                       2004/05                                             T   T
                                                                                                                                               E
                                                                                       Utility Bill                                            D

A.T. & T. Wireless
P.O. Box 8220                                                                      -
Aurora, IL 60572

                                                                                                                                                                        52.53
Account No.                                                                            2004
                                                                                       Other
Bergh Memorial Animal Hospital
The Bureaus                                                                        -
1717 Central
Evanston, IL 60201
                                                                                                                                                                       198.00
Account No.                                                                            2004
                                                                                       Other
Blockbuster
344 3rd Ave.                                                                       -
New York, NY 10010

                                                                                                                                                                       134.21
Account No.                                                                            2004
                                                                                       Other
Blockbuster
151 3rd Ave.                                                                       -
New York, NY 10003

                                                                                                                                                                       117.22

                                                                                                                                         Subtotal
 2
_____ continuation sheets attached                                                                                                                                     501.96
                                                                                                                               (Total of this page)




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   In re            Oscar Hernandez                                                                                         Case No.
                                                                                                                        ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                      C   U   D
                      CREDITOR'S NAME,                                         O                                                           O   N   I
                    AND MAILING ADDRESS                                        D   H                                                       N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                               B                                                           I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                       (See instructions.)                                     R                                                           E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. 2802                                                                       2004                                                    E
                                                                                       Credit card Charges                                     D

Capital One Bank
P.O. Box 790216                                                                    -
Saint Louis, MO 63179

                                                                                                                                                                2,332.74
Account No. 7430                                                                       2004
                                                                                       Credit card Charges
Citi Cards
P.O. Box 6412                                                                      -
The Lakes, NV 88901

                                                                                                                                                                8,064.00
Account No.                                                                            2002
                                                                                       Credit card Charges
Citi Cards
P.O. Box 6412                                                                      -
The Lakes, NV 88901

                                                                                                                                                                2,354.00
Account No.                                                                            2004
                                                                                       Credit purchase
Columbia House
N.C.O.                                                                             -
P.O. Box 41417
Dept 99
Philadelphia, PA 19101                                                                                                                                             54.81
Account No.                                                                            2004
                                                                                       Utility Bill
Comcast
P.O. Box 3007                                                                      -
Southeastern, PA 19398

                                                                                                                                                                   49.46

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                              12,855.01
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)




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   In re            Oscar Hernandez                                                                                               Case No.
                                                                                                                         ,
                                                                                                      Debtor

                    SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                             (Continuation Sheet)

                                                                               C   Husband, Wife, Joint, or Community                             C   U   D
                      CREDITOR'S NAME,                                         O                                                                  O   N   I
                    AND MAILING ADDRESS                                        D   H                                                              N   L   S
                     INCLUDING ZIP CODE,
                                                                               E
                                                                                   W
                                                                                               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                               B                                                                  I   Q   U
                    AND ACCOUNT NUMBER                                         T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                               O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                       (See instructions.)                                     R                                                                  E   D   D
                                                                                                                                                  N   A
                                                                                                                                                  T   T
Account No. xxxx/1862                                                                  2004                                                           E
                                                                                       Credit card Charges                                            D

Macy's
Northland group                                                                    -
P.O. BOx 390846
Minneapolis, MN 55439
                                                                                                                                                                       1,654.47
Account No. 0975                                                                       2004
                                                                                       Credit Card Charges
MBNA
P.O. Box 15137                                                                     -
Wilmington, DE 19886

                                                                                                                                                                       5,610.39
Account No. 2629                                                                       2004
                                                                                       Other
New York Public Library
Unique National Collections                                                        -
119 east Maple
Jeffersonville, IN 47130
                                                                                                                                                                          74.00
Account No.                                                                            2003
                                                                                       Other
Tower Video
Universal Credit                                                                   -
P.O. BOx 23815
San Diego, CA 92123
                                                                                                                                                                          82.00
Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                       7,420.86
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of this page)
                                                                                                                                                  Total
                                                                                                                        (Report on Summary of Schedules)             20,777.83


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  In re             Oscar Hernandez                                                                              Case No.
                                                                                                       ,
                                                                                       Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
               State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
               Provide the names and complete mailing addresses of all other parties to each lease or contract described.

               NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate
                     schedule of creditors.

                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.

                     Remo Mgmt.                                                           Month to Month Apt. Lease
                     Ann Arbor, MI 48104                                                  Lessee




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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  In re             Oscar Hernandez                                                                          Case No.
                                                                                                  ,
                                                                                       Debtor

                                                                        SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
     debtor in the schedules of creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should
     report the name and address of the nondebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years
     immediately preceding the commencement of this case.

               Check this box if debtor has no codebtors.

                    NAME AND ADDRESS OF CODEBTOR                                          NAME AND ADDRESS OF CREDITOR




       0         continuation sheets attached to Schedule of Codebtors
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 In re     Oscar Hernandez                                                                     Case No.
                                                                  Debtor(s)


                        SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.
Debtor's Marital Status:                                          DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP                                            AGE
                                              Daughter                                          19
       Single


 EMPLOYMENT                                              DEBTOR                                           SPOUSE
 Occupation
 Name of Employer                  Market Source
 How long employed                 2 years
 Address of Employer
                                   Ann Arbor, MI 48104
 INCOME: (Estimate of average monthly income)                                                        DEBTOR               SPOUSE
 Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)            $         693.33    $            N/A
 Estimated monthly overtime                                                                     $           0.00    $            N/A

 SUBTOTAL                                                                                       $         693.33    $            N/A

       LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                                     $          95.25    $            N/A
       b. Insurance                                                                             $           0.00    $            N/A
       c. Union dues                                                                            $           0.00    $            N/A
       d. Other (Specify)                                                                       $           0.00    $            N/A
                                                                                                $           0.00    $            N/A

       SUBTOTAL OF PAYROLL DEDUCTIONS                                                           $          95.25    $            N/A

 TOTAL NET MONTHLY TAKE HOME PAY                                                                $         598.08    $            N/A

 Regular income from operation of business or profession or farm (attach detailed statement)    $           0.00    $            N/A
 Income from real property                                                                      $           0.00    $            N/A
 Interest and dividends                                                                         $           0.00    $            N/A
 Alimony, maintenance or support payments payable to the debtor for the debtor's use or that
 of dependents listed above                                                                     $           0.00    $            N/A
 Social security or other government assistance
 (Specify)                                                                                      $           0.00    $            N/A
                                                                                                $           0.00    $            N/A
 Pension or retirement income                                                                   $           0.00    $            N/A
 Other monthly income
 (Specify)                                                                                      $           0.00    $            N/A
                                                                                                $           0.00    $            N/A


 TOTAL MONTHLY INCOME                                                                           $         598.08    $            N/A

 TOTAL COMBINED MONTHLY INCOME                             $                  598.08           (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the
filing of this document:




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 In re   Oscar Hernandez                                                                      Case No.
                                                                  Debtor(s)


         SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
Rent or home mortgage payment (include lot rented for mobile home)                                         $                  475.00
Are real estate taxes included?                                 Yes               No X
Is property insurance included?                                 Yes               No X
Utilities:         Electricity and heating fuel                                                            $                  150.00
                   Water and sewer                                                                         $                    0.00
                   Telephone                                                                               $                   50.00
                   Other                                                                                   $                    0.00
Home maintenance (repairs and upkeep)                                                                      $                    0.00
Food                                                                                                       $                  350.00
Clothing                                                                                                   $                  200.00
Laundry and dry cleaning                                                                                   $                    0.00
Medical and dental expenses                                                                                $                   50.00
Transportation (not including car payments)                                                                $                  100.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                           $                    0.00
Charitable contributions                                                                                   $                    0.00
Insurance (not deducted from wages or included in home mortgage payments)
                   Homeowner's or renter's                                                                 $                    0.00
                   Life                                                                                    $                    0.00
                   Health                                                                                  $                    0.00
                   Auto                                                                                    $                   75.00
                   Other                                                                                   $                    0.00
Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                 $                    0.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan.)
                   Auto                                                                                    $                    0.00
                   Other                                                                                   $                    0.00
                   Other                                                                                   $                    0.00
                   Other                                                                                   $                    0.00
Alimony, maintenance, and support paid to others                                                           $                  250.00
Payments for support of additional dependents not living at your home                                      $                    0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)               $                    0.00
Other                                                                                                      $                    0.00
Other                                                                                                      $                    0.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                               $                1,700.00

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some
other regular interval.
A.   Total projected monthly income                                                                        $                        N/A
B.   Total projected monthly expenses                                                                      $                        N/A
C.   Excess income (A minus B)                                                                             $                        N/A
D.   Total amount to be paid into plan each                                                                $                        N/A
                                                               (interval)




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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
 In re       Oscar Hernandez                                                                                        Case No.
                                                                                             Debtor(s)              Chapter     7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                15  sheets [total shown on summary page plus 1], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date October 15, 2005                                                          Signature     /s/ Oscar Hernandez
                                                                                              Oscar Hernandez
                                                                                              Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
 In re       Oscar Hernandez                                                                                    Case No.
                                                                                             Debtor(s)          Chapter     7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs.

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o         business from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
               two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a
               fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a
               joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income
               of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE (if more than one)
                           $8,000.00                                2005 YTD
                           $12,000.00                               2004
                           $12,000.00                               2003
                           $0.00                                    2005 Unemployment Benefits YTD
                           $0.00                                    2004
                           $10,000.00                               2003




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     n         during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               3. Payments to creditors

    None       a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
     n         made within 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
               must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
               petition is not filed.)

 NAME AND ADDRESS                                                                   DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                      AMOUNT PAID             OWING

    None       b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who
     n         are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
               not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT               AMOUNT PAID             OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     n         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY          STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION             DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                  DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE               PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     n         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT




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                                                                                                                                                                 3
    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     n         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT      VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     n         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                          AMOUNT OF MONEY
 NAME AND ADDRESS                                                                NAME OF PAYOR IF OTHER                  OR DESCRIPTION AND VALUE
    OF PAYEE                                                                         THAN DEBTOR                               OF PROPERTY

               10. Other transfers

    None       List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
     n         either absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under
               chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
               separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     n         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                                        DIGITS OF ACCOUNT NUMBER,        AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                       AND AMOUNT OF FINAL BALANCE              OR CLOSING




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               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                       DESCRIPTION            DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                       OF CONTENTS             SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     n         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                    DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
     n
                                                                                 DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                              PROPERTY                         LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
     o         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                         NAME USED                               DATES OF OCCUPANCY
 1565 Odell, Apt.8C                                                                                                      3/00 to 6/04
 Bronx, NY 10462

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law




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    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                        DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                          NOTICE                 LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                        DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                          NOTICE                 LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                               DOCKET NUMBER                           STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     n         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership,
               sole proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or
               in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
               commencement of this case.
                           If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                      securities, within the six years immediately preceding the commencement of this case.
                           If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity
                      securities within the six years immediately preceding the commencement of this case.

                                        TAXPAYER                                                                            BEGINNING AND ENDING
 NAME                                   I.D. NO. (EIN)             ADDRESS                        NATURE OF BUSINESS        DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor or otherwise self-employed.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or
     n         supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                              DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
     n         of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                 DATES SERVICES RENDERED


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    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
     n         of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
     n         issued within the two years immediately preceding the commencement of this case by the debtor.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
     n         and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     n
                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     n
 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
     n         controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     n         commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     n         immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
     n         in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY




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               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
     n         group for tax purposes of which the debtor has been a member at any time within the six-year period immediately preceding the
               commencement of the case.

 NAME OF PARENT CORPORATION                                                                                         TAXPAYER IDENTIFICATION NUMBER

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
     n         employer, has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the
               case.

 NAME OF PENSION FUND                                                                                               TAXPAYER IDENTIFICATION NUMBER


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date October 15, 2005                                                          Signature     /s/ Oscar Hernandez
                                                                                              Oscar Hernandez
                                                                                              Debtor
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
 In re       Oscar Hernandez                                                                                                     Case No.
                                                                                             Debtor(s)                           Chapter          7



                                                          STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                             PURSUANT TO F.R.BANKR.P. 2016(b)

The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.           The undersigned is the attorney for the Debtor(s) in this case.
2.           The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
             [X]    FLAT FEE
              A.     For legal services rendered in contemplation of and in connection with this case, exclusive of the
                     filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            450.00
              B.          Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              0.00
              C.          The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               450.00
             [ ]          RETAINER
              A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

              B.           The undersigned shall bill against the retainer at an hourly rate of $ . [Or attach firm hourly rate schedule.]
                           Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.
3.           $     0.00      of the filing fee has been paid.
4.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
             [Cross out any that do not apply.]
             A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a
                          petition in bankruptcy;
             B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
             C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
                          thereof;
             D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
             E.           Reaffirmations;
             F.           Redemptions;
             G.           Other: Negotiations with secured creditors to reduce to market value; exemption planning; preparation and
                                       filing of reaffirmation agreements and applications as needed; preparation and filing of motions
                                       pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.
5.           By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                   Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                   any other adversary proceeding.

6.           The source of payments to the undersigned was from:
             A.        XX            Debtor(s)' earnings, wages, compensation for services performed
             B.                      Other (describe, including the identity of payor)
7.           The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law
             firm or corporation, any compensation paid or to be paid except as follows:

 Dated:          October 15, 2005                                                                                /s/ David I. Goldstein
                                                                                                                 Attorney for the Debtor(s)
 Agreed: /s/ Oscar Hernandez                                                                                     David I. Goldstein P14130
         Debtor Oscar Hernandez                                                                                  David I. Goldstein    P14130
                                                                                                                 2010 Hogback, Ste 2
                                                                                                                 Ann Arbor, MI 48105
                                                                                                                 (734) 971-0110
                 Joint Debtor (if any)


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                                                                  United States Bankruptcy Court
                                                                           Eastern District of Michigan
 In re       Oscar Hernandez                                                                                    Case No.
                                                                                             Debtor(s)          Chapter     7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      October 15, 2005                                                    /s/ Oscar Hernandez
                                                                                Oscar Hernandez
                                                                                Signature of Debtor




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                           A.T. & T. Wireless
                           P.O. Box 8220
                           Aurora, IL 60572


                           Bergh Memorial Animal Hospital
                           The Bureaus
                           1717 Central
                           Evanston, IL 60201


                           Blockbuster
                           344 3rd Ave.
                           New York, NY 10010


                           Capital One Bank
                           P.O. Box 790216
                           Saint Louis, MO 63179


                           Citi Cards
                           P.O. Box 6412
                           The Lakes, NV 88901


                           Columbia House
                           N.C.O.
                           P.O. Box 41417
                           Dept 99
                           Philadelphia, PA 19101


                           Comcast
                           P.O. Box 3007
                           Southeastern, PA 19398


                           Credit Protection
                           13355 Noel Road
                           Dallas, TX 75240


                           Credit Protection
                           13355 Noel Road
                           Dallas, TX 75240


                           Macy's
                           Northland group
                           P.O. BOx 390846
                           Minneapolis, MN 55439




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                       MBNA
                       P.O. Box 15137
                       Wilmington, DE 19886


                       New York Public Library
                       Unique National Collections
                       119 east Maple
                       Jeffersonville, IN 47130


                       Northland Group
                       P.O. Box 390846
                       Minneapolis, MN 55439


                       O.M.S.
                       CS 9018
                       Melville, NY 11747


                       Plaza Assoc.
                       P.O. BOx 18008
                       Hauppauge, NY 11788


                       Plaza Assoc.
                       P.O. BOx 18008
                       Hauppauge, NY 11788


                       Tower Video
                       Universal Credit
                       P.O. BOx 23815
                       San Diego, CA 92123


                       West Asset mgmt.
                       P.O. BOx 724388
                       Atlanta, GA 31139




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